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        EXHIBIT 19
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                    Otter Products, LLC et al. v. Triplenet Pricing, Inc. et al.

                                Case No. 1:19-cv-00510 (D. Colo.)

                                  Expert Report of Cathy Ceely

   I.    Background And Qualifications

         1.    I have close to 20 years’ employment at Amazon.com primarily working with
               third-party Sellers in a variety of roles. My roles have included:

               a.       Founding member of the Executive Seller Relations team. This team
                        answered Seller escalations addressed to Jeff Bezos, the founder and CEO
                        of Amazon.

               b.       Founding member of the Seller Performance team. This team took
                        account- and listing-level enforcement actions against Sellers who violate
                        Amazon selling policies.

               c.       Seller Performance team Operations manager. In this role, I drove Seller
                        enforcement transparency, providing Sellers with visibility into their Order
                        Defect Rate, Late Shipment Rate, and Pre-fulfillment Cancel Rate.

               d.       Founding member of the Product Quality team. This team took account
                        and listing-level enforcement action against Sellers who violate Amazon
                        selling policies related to product authenticity. I established worldwide
                        enforcement processes and policies, and drove worldwide investigator
                        Standard Operating Procedures and training.

               e.       Senior Program Manager, Strategic Account Services team. In this role, I
                        worked directly with Amazon’s most strategic Sellers and their Amazon
                        account managers to troubleshoot enforcement issues and concerns, and
                        brought the voice of the seller to enforcement teams across Amazon.

         2.    I am currently employed at Riverbend Consulting as an Account Supervisor. My
               role at Riverbend Consulting includes:

               a.       Providing account management services for large Amazon Sellers,
                        including monitoring and notification of Amazon enforcement actions, and
                        preparation of account and listing reinstatement appeals.

               b.       Analyzing and troubleshooting Amazon Seller accounts and listing-level
                        enforcement issues.

         3.    I have not authored any publications in the previous 10 years.

         4.    I have not testified as an expert in any cases during the previous 4 years.
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         5.   I have been retained by Plaintiff Otter Products, LLC (“Otter”) to evaluate the
              importance of their established quality controls in the context of Amazon
              marketplace sales.

         6.   I am being compensated by Otter for this case at my usual rate of $350.00 per
              hour. My compensation is not contingent on my testimony or the results of this
              case.

         7.   My opinions in this case are based on my experience working with Amazon, my
              interview of Otter employees Stacie Lukas, Kevin McPherson, and Sara
              Yamashiro, and my review of Otter product listings and the following additional
              documents:

              a.     The Complaint in this case

              b.     Otter Products, LLC Authorized Distributor Policy (Otter-
                     Triplnet00000012-14)

              c.     Otter Products, LLC Authorized Reseller Policy (Otter-Triplnet00000015-
                     16)

              d.     Otter Products, LLC Authorized Retailer Policy (Otter-Triplnet00000017-
                     19)

              e.     Otter Products, LLC Secondary Market Authorized Reseller Policy (Otter-
                     Triplnet00000030-31)

              f.     Secondary Market Sales Agreement (Otter-Triplnet00000032-54)

              g.     Otter Products, LLC Online Quality Control Policy (Otter-
                     Triplnet00000055-59)

              h.     Otter Products, LLC Online Quality Control Auditing Program (Otter-
                     Triplnet00000060)

              i.     Otter’s letter to Secondary Market Distributor/Reseller (Otter-
                     Triplnet00000064)

              j.     Otter Products, LLC Authorized Online Seller Application (Otter-
                     Triplnet00000090-95)

              k.     OtterBox and LifeProof Authorized Reseller Application (Otter-
                     Triplnet00000099-115)

              l.     Secondary Market Sales Agreement (Otter-Triplnet00000116-136)

              m.     Standard Terms and Conditions of Sale (Otter-Triplnet00000137-141)
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                n.     Otter Products, LLC Product Reseller Policy (Otter-Triplnet00000149-
                       151)

                o.     Product Reseller Agreement (Otter-Triplnet00000154-179)

   II.   The Amazon Marketplace Presents A Novel Retail Ecosystem And Requires That
         Brands Seeking To Protect Product Quality In The Channel Adopt New Types Of
         Quality Control Measures.

         8.     Amazon is the largest e-commerce platform in the United States. The Amazon
                platform presents a novel and unique retail ecosystem that manufacturers, brands
                and consumers are still learning how to navigate. The reality is that most people
                do not understand how Amazon operates, how products are sold on Amazon and
                how Amazon’s fulfillment operations work. The Amazon platform presents a
                number of new realities that require brands to take more proactive steps to protect
                their product quality and brand reputation in the channel and beyond.

         9.     Amazon accounts for an estimated 37.7% of online commerce during 2019 per
                EMarketer Inc., among the most widely cited sources for estimates of U.S, online
                retail sales. Amazon CEO Jeff Bezos disclosed that independent merchants
                accounted for 58% of gross merchandise sales on the retail site. (Source:
                https://www.pymnts.com/amazon/2019/amazon-share-ecommerce/)

         10.    Sales of physical gross merchandise sales sold on Amazon by independent third-
                party Sellers – mostly small and medium-sized businesses – as opposed to
                Amazon’s own first party sales has grown from 3% in 1999 to 58% in 2018, from
                $0.1 billion to $160 billion. During this same time period, first-party business has
                grown from $1.6 billion in 1999 to $117 billion in 2018. (Source: 2018 Amazon
                Annual Report)

   A.    Third Party (“3P”) Sellers

         11.    The Amazon Marketplace intermingles two primary business models: Amazon
                retail (sometimes called “1P” or first-party) and 3P Sellers. 3P Sellers are
                independent merchants who use the Amazon platform to sell products to
                customers. 3P Sellers may also use other services from Amazon such as logistics
                and fulfillment.

         12.    3P Sellers now account for more than half of total sales on Amazon. From
                Amazon CEO Jeff Bezos’ 2018 Letter to Shareholders: ‘. . . . first-party business
                has grown dramatically . . . , from $1.6 billion in 1999 to $117 billion this past
                year. The compound annual growth rate for our first-party business in that time
                period is 25%. But in that same time, third-party sales have grown from $0.1
                billion to $160 billion – a compound annual growth rate of 52%.”

         13.    The barrier to entry for 3P Sellers is very low. Typically, there is no preapproval
                from Amazon required to list products, including the Otter products at issue in this
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                action. Instead, anyone who is able to somehow obtain products is able to list
                them for sale on the platform.

         14.    Amazon offers two selling plans for 3P Sellers—the Professional plan, and the
                Individual plan. The Professional plan allows Sellers to sell an unlimited number
                of products for a $39.99 monthly subscription fee. Individual 3P Sellers pay a
                $0.99 fee per item sold, but no monthly fee. All 3P Sellers also pay other fees to
                Amazon such as a percentage of revenue, fulfillment fees, etc.

         15.    Most 3P Sellers on Amazon undertake effort to remain anonymous on the
                platform—they do not disclose their true identity to buyers, physical address, or
                even website or email address. 3P sellers are required to disclose their identity to
                Amazon during the registration process, however, their storefront name/display
                name may, or may not, clearly disclose the identity of the seller. Buyers may
                attempt to communicate with Sellers through the Amazon messaging system and
                sometimes a customer service phone number (to the extent one is provided).

         16.    Triplenet Pricing Inc. is a 3P Amazon seller that sells anonymously under the
                storefront name “Triplenet Pricing INC.” The Triplenet Pricing Inc. storefront
                does not disclose its address or email.

   B.    Product Listings / Detail Pages

         17.    Product listings—also known as detail pages—are defined by Universal Product
                Code (“UPC”) or European Article Number (“EAN”) codes. The following is an
                example of a detail page for an Otter product, the OtterBox SYMMETRY
                CLEAR SERIES Case for iPhone Xs & iPhone X:




         18.    Each product, identified by its UPC code, has one detail page at Amazon. Amazon
                selling policies prohibit Sellers from creating duplicate detail pages for products
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                and require Sellers to match to existing detail pages using the product UPC code.
                All sellers of a product share the same detail page. The result is that all sellers
                represent that their listings match the detail page and that they are selling the same
                product as described on the detail page.

          19.   When a customer buys a product using the “Add to Cart” or “Buy Now” buttons,
                the Seller whose offer is in the ‘Buy Box’ receives the sale. Amazon selects the
                seller using a proprietary algorithm. The identity of this seller is disclosed in non-
                descript plain text, on the right-side of the screen, and/or may be on the detail
                page itself. The identity of the seller is not highlighted or obvious to consumers,
                most of whom do not know the product is being purchased from a third-party
                Seller. The box where the seller is named is called the “Buy Box” and being
                selected to appear there is called “winning the Buy Box.”

          20.   In the above example, the Buy Box is being won by a 3P Seller, “Value Stock.”

          21.   This product also has 14 other sellers. To see these other sellers, the customer
                would have to click the “Used & new (16)” button at the bottom of the product
                description.

          22.   Most customers do not know that they can select a different seller. As a result, the
                vast majority of sales of any product on Amazon go to the seller who wins the
                Buy Box.

          23.   Detail pages also contain product reviews, displayed prominently at the top and
                center of the page. In this case, the Otter product has 3,486 customer reviews with
                an average of approximately four stars out of five.

          24.   Because all sellers share the same detail page, they also share the same product
                reviews left by buyers. Buyers may leave reviews to describe their experience
                with the product itself – good and bad. Product reviews are not identified by
                fulfilling seller. When a buyer leaves a review on a detail page, it is generally
                impossible to determine which seller the customer purchased the product from.

   III.   Brand Success And Preserving Brand Reputation In The Amazon Ecosystem

          25.   Amazon is a unique retail environment, and brands must know how to navigate
                the unique aspects of Amazon to maximize brand success and preserve their brand
                reputations.

   A.     Search Placement

          26.   Searches on Amazon are not required to be branded and many are unbranded (i.e.,
                consumers are more likely to search for “phone case” than “OtterBox phone
                case”). Buyers generally search by keyword and may not look for a specific
                brand, but will instead buy what’s listed high in Amazon search results.
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         27.   In my experience, I believe that the majority of sales go to products that appear in
               the first page of search results.

   B.    Product Reviews

         28.   Positive product reviews are also key to success. Customers can leave reviews of
               products on detail pages on a 1-to-5 star scale. In addition to the star rating,
               customers are able to leave comments describing their experience with a product.
               Product reviews are easily viewed by consumers all around the world, whether
               they have made a purchase at Amazon or not.

         29.   Reviews are displayed prominently right under the title of the product. One can
               also click on the reviews to view more detail. For the OtterBox SYMMETRY
               CLEAR SERIES Case shown earlier, the product has an average rating of 4.2 out
               of 5 stars, with about 11% of customers leaving a one-star review.




         30.   Customers rely heavily on product reviews when shopping online. In my
               experience, more than 50% of Amazon Prime customers look at product reviews
               before making a purchasing decision. From Business Insider, “ . . . 97% of US
               consumers look at reviews when making their purchasing decisions, with 26%
               doing so for every purchase and 95% reading more than one review.” Source:
               https://www.businessinsider.com/amazon-fake-product-review-problem-2019-4

         31.   Nearly 90% of Amazon product views come from their own product search; not
               from advertising, merchandising, or product aggregators. From 2015 to 2018,
               Amazon surpassed Google for product searches with 54% of product search
               results come from Amazon vs. 46% from Google. Source:
               https://www.retaildive.com/news/amazon-now-dominates-google-in-product-
               search/531822/ https://go.jumpshot.com/Q2-18-Data-Report.html

         32.   Product reviews also affect brand success and reputation in other ways. Based on
               my experience, I believe that Amazon uses product reviews when determining
               search results – i.e., how high a product ranks in search results – and a product’s
               eligibility for deals such as “Deal of the Day” or “Lightning Deals.”

         33.   Negative reviews hurt search placement. Products that have low review ratings
               appear lower in search results because Amazon’s search algorithm is intended to
               show products that it believes consumers are more likely to buy first.

         34.   As demonstrated in the following section, Otter products have received negative
               reviews for issues that in my experience are often caused by the poor sellers.
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   IV.   Brands Face Significant Quality Control Challenges on Amazon

         35.   The unique Amazon ecosystem presents brands with significant quality control
               challenges. Brands must manage their Sellers and institute channel-unique quality
               controls to mitigate these challenges and preserve their reputations and consumer
               experiences.

         36.   The reality of millions of Anonymous 3P Sellers brings significant quality
               challenges for brands. As an initial matter, when Sellers are anonymous, they are
               less accountable to the brand and customers. Amazon allows Sellers to select a
               storefront name that need not bear any relation to their actual business name.
               Amazon collects performance data on Sellers, and Sellers can view their own
               performance data in their Account Health Dashboard in Seller Central. The
               performance data includes the Seller’s Order Defect Rate, Late Shipment Rate,
               Pre-fulfillment Cancellation Rate, and Valid Tracking Rate. However, brands and
               buyers cannot view any of this performance data on the Amazon website. The
               only Seller performance data visible to brand and buyers is Seller feedback.

         37.   Unique Amazon fulfillment practices also present another source of quality
               control challenges. Many 3P Sellers choose to use a program called Fulfillment by
               Amazon (FBA), whereby they send inventory to Amazon fulfillment centers.
               Some unique fulfillment practices that any brand seeking to maintain quality must
               account for include:

               a.     Commingling. Under Amazon’s commingling policy, when a customer
                      orders a product from a 3P Seller using FBA, Amazon often/typically
                      ships the product from any other 3P FBA Seller’s inventory in closest
                      proximity to the consumer. Commingling is particularly challenging to
                      brands’ quality control efforts because consumers may unknowingly be
                      receiving their product from the worst quality 3P Seller. To opt out of
                      Amazon’s commingling policy, resellers must apply their own Fulfillment
                      Network Stock Keeping Unit (FNSKU) stickers to every individual
                      product. This step is an extra cost for Sellers, but is essential to a brand’s
                      ability to maintain strong quality control on Amazon.

               b.     Sourcing. Amazon does not require Sellers to disclose product sources
                      when listing items for sale at Amazon. In my experience, I am aware that
                      sellers purchase inventory from manufacturers, authorized distributors,
                      retail stores, liquidation sources, or other sources including overseas web
                      sites such as Alibaba.com.

         38.   When consumers receive low quality products from the Amazon channel, they
               frequently leave negative reviews. I examined the negative reviews for the
               “OtterBox SYMMETRY CLEAR SERIES Case for iPhone Xs & iPhone X” and
               identified the following examples of negative reviews of the product that were
               likely caused by unauthorized 3P Sellers who do not follow quality controls:
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              a.    This consumer complained of ordering an Otter product but receiving a
                    product from another brand. In my experience, this type of buyer
                    complaint may result from a purchase fulfilled with product from an
                    unauthorized 3P seller.




              b.    This consumer complained about receiving an “obviously used” and dirty
                    OtterBox product with a “strong perfume smell” on the packaging. This
                    issue was also likely caused by an unauthorized seller, whether by
                    intentionally or inadvertently shipping a used product, allowing
                    commingling, storing the product improperly, or failing to inspect the
                    product before shipment.




              c.    This consumer complained about receiving a defective product. In my
                    experience, this type of complaint may result from a defective product
                    shipped by unauthorized sellers who source their products from unreliable
                    sources such as liquidators or fail to inspect their products.
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               d.     This consumer complained about receiving a product that was not of the
                      same quality that the consumer expected from their previous experiences
                      with Otter. Because there are so many unauthorized sellers of Otter
                      products, consumers do not know who to blame for such reviews and
                      default to blaming Otter.




         39.   Notably, even if the text of the review blames the Seller, the one-star rating still
               drags down the overall review score of Otter’s products, hurting their reputation
               in the eyes of consumers and may cause those products to become disfavored in
               search results.

   V.    Otter’s Quality Controls Represent A Substantial Effort By The Brand To Address
         The Unique Quality Control Challenges In The Amazon Channel.

         40.   In light of the novel quality challenges unique to the Amazon ecosystem, brands
               must have the ability to maintain oversight over any sellers of their products in the
               channel to minimize the risk of product quality problems.

         41.   I have examined Otter’s quality control policies and believe that they are
               legitimate, substantial, and important measures for maintaining quality in the
               Amazon channel. In particular, the following Otter quality controls are important
               to preserving the Otter reputation and protecting consumers purchasing on
               Amazon:

         42.   Approval of sellers. Otter’s policy of requiring sellers to seek Otter’s approval to
               sell online, and on Amazon specifically, and allow Otter to vet them, is a
               legitimate, substantial, and important quality control. As explained above, quality
               problems that customers encounter on Amazon can be difficult to trace to
               particular sellers. An important step in minimizing the risk of these problems is to
               ensure that only the highest quality sellers are selling brands in the channel – both
               to ensure that sellers are subject to the brand’s quality controls and oversight, and
               to ensure that the brand knows who all its sellers are so that quality issues can be
               investigated and resolved. Requiring approval and vetting also lets Otter ensure
               that its sellers are following all of Otter’s other quality controls.

         43.   Seller anonymity. Otter’s policy of banning anonymous online sales is a
               legitimate, substantial, and important quality control. Anonymous Sellers are less
               accountable to Otter and customers and more likely to ship poor-quality products.

         44.   Fulfillment practices. Otter’s policy of banning fulfillment practices that
               contribute to quality control issues such as commingling is a legitimate,
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                 substantial, and non-pretextual quality control. As discussed earlier, these
                 practices substantially increase the risk of customers receiving bad products.

         45.     Inspection requirements. Otter’s policy of requiring Sellers to inspect products
                 before shipping them is a legitimate, substantial, and non-pretextual quality
                 control. When customers buy a product in the brick-and-mortar setting, they do
                 the inspection work for the brand by viewing and touching the product before
                 buying it. However, in the e-commerce context, customers must rely on the Seller
                 to do this point-of-sale inspection.

         46.     Storage requirements. Otter’s policy of requiring proper storage is a legitimate,
                 substantial, and non-pretextual quality control. Although Otter’s products are
                 intended to be durable, poor storage can nevertheless cause the product to become
                 dirty, scratched, or take on a smell.

   VI.   Conclusion

         47.     Although Amazon is an invaluable sales channel for many brands, its lack of
                 quality controls on items sold by 3P sellers combined with the low barrier to entry
                 into the 3P marketplace creates significant risks to product quality and brand
                 reputation. All brands should take steps to protect their brand reputation on
                 Amazon, including creating legitimate quality controls. Otter’s quality controls
                 are legitimate and necessary to protecting its brand reputation on Amazon.




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   Cathy Ceely

   Seattle, WA

   October 1, 2019
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